 Case 2:24-ap-01024-WB          Doc 3 Filed 01/31/24 Entered 01/31/24 00:01:42    Desc
                                Main Document     Page 1 of 2



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6
7                               UNITED STATES BANKRUPTCY COURT
8                                 CENTRAL DISTRICT OF CALIFORNIA
9
                                         LOS ANGELES DIVISION
10
                                                      CHAPTER 13
11
     In re:                                           Lead Case No. 23-16688-WB
12
     MARVIN V. ACUNA                                  Adv. No. 2:24-ap-01024-WB
13
                       Debtor
14                                                    PROOF OF SERVICE
     PLANT CRAFT FOODS, INC.
15
              Plaintiff,
16
                       v.
17
     MARVIN V. ACUNA
18
              Defendant.
19
20
21
22
23
24
25
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     PROOF OF SERVICE
                                                       1
           Case 2:24-ap-01024-WB                    Doc 3 Filed 01/31/24 Entered 01/31/24 00:01:42                                     Desc
                                                    Main Document     Page 2 of 2


                                                    PROOF OF SERVICE OF DOCUMENT

 I am over the age of eighteen and not a party to the bankruptcy case or adversary proceeding. My business address
 is:

 1700 South El Camino Real Suite 503
 San Mateo CA 94402

 A true and correct copy of ECF Dkt. Nos 1 (Complaint), 1-1 (Civil Case Cover Sheet), and 2 (Summons Issued)
 will be served in the Judge's chambers and as follows:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING {NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 1/29/2024 , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:
  Michael Jay Berger rnichael.borger@bankruptcypower.com, Sanjiv N. Singh at ssingh@sanjivnsingh.com
  yathida.nipha@bankruptcypower.com;michael.berger@ecf.inforuptcy.com
  Nancy /6 Curry (TR) TrusteeECFMail@gmail.com
  United States Trustee (LA) ustpregion16.1a.ecf@usdoj.gov
  davidhagenlaw@gmail.com                                                  Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _____, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _____, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                       D Service information continued on attached page
I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 1/30/2024           Sanjiv N. Singh. Esq.
 Date                         Printed Name                                                      Signature




           This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

May 2015                                                            Page 3                           F 3015-1.02.NOTICE.341.CNFRM
